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 1 TRINETTE G. KENT (State Bar No. 025180)
 2 KENT LAW OFFICES
   10645 North Tatum Blvd., Suite 200-192
 3 Phoenix, AZ 85028
 4 Telephone: (480) 247-9644
   Facsimile: (480) 717-4781
 5 E-mail: tkent@kentlawpc.com
 6
   Of Counsel to:
 7
   Michigan Consumer Credit Lawyers
 8 22142 West Nine Mile Road
   Southfield, MI 48033
 9
   Telephone: (248) 353-2882
10 Facsimile: (248) 353-4840
11
   Attorneys for Plaintiff,
12 Deborah Aldridge
13
                       IN THE UNITED STATES DISTRICT COURT
14
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
15
16 Deborah Aldridge,                               Case No.: 2:17-cv-375-JAM-DB
17
                    Plaintiff,
18
19        vs.                                      NOTICE OF VOLUNTARY
                                                   DISMISSAL WITH PREJUDICE
20 Grant and Weber, Inc.,
21
                 Defendant.
22
23
           Plaintiff, through counsel undersigned, hereby dismisses the within action
24
25 against Grant and Weber, Inc., with prejudice and without costs to either party.
26
                                                   KENT LAW OFFICES
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                                               1
      Case 2:17-cv-00375-JAM-DB Document 5 Filed 04/17/17 Page 2 of 2


 1 DATED: April 17, 2017
 2                                       By: /s/ Trinette G. Kent
                                         Trinette G. Kent
 3                                       Attorneys for Plaintiff,
 4                                       Deborah Aldridge
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